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Office of the United States Trustee
1100 Commerce Street, Room 976
Dallas, Texas 75242
214-767-8967

Erin Marie Schmidt,
for the United States Trustee


                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

IN RE:                                           §
                                                 §
FOREST PARK MEDICAL CENTER                       §   Case No. 16-40198-RFN-11
AT FORT WORTH, LLC,                              §   Chapter 11
                                                 §
Debtor-in-Possession.                            §


                Appointment of the Official Unsecured Creditors’ Committee

TO THE HONORABLE RUSSELL F. NELMS, U.S. BANKRUPTCY JUDGE:

       In accordance with 11 U.S.C. §1102(a)(1), the United States Trustee appoints the

following creditors to the Official Unsecured Creditors’ Committee in the above-referenced case:

                                    Pro Silver Star Limited
                                        c/o TomWalker
                                    One Cowboys Parkway
                                      Irving, Texas 75063
                                        (972) 497-4394
                                  twalker@dallascowboys.net

                                         Summit Spine, LLC
                                          c/o Eric Buescher
                                        141 Cherrybark Drive
                                         Coppell, TX 75019
                                           (214) 208-6771
                                      ericbuescher@ymail.com

                                        Vintage Medical, LLC
                                         c/o Jeff Kropholler
                                      1801 Royal Lane Suite 908
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                           Farmers Branch, Texas 75229
                                  (972) 869-0971
                              Jeff@VintageMed.com


DATED: January 20, 2016              Respectfully submitted,

                                     WILLIAM T. NEARY
                                     UNITED STATES TRUSTEE

                                     /s/ Erin Marie Schmidt
                                     Erin Marie Schmidt
                                     Trial Attorney
                                     Texas State Bar No. 24033042
                                     Office of the United States Trustee
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                                     Dallas, Texas 75242
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